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AO 91 (Rev. 02/09) Criminal Complaint

United States District Court

for the
Western District of New York

United States of America )
Vv. Case No. /{- Iny- bo4
TIMOTHY WALLACE
Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

From, in or about the date of July 11, 2011, in the county of _Livingston_in the Western District of New York, the
defendant violated 18 U.S.C. § .2422(b), the offenses described as follows:

the defendant did use a facility and means of interstate commerce to knowingly attempt to persuade, induce, and entice an
individual he believed to be less than 18 years of age, to engage in sexual activity for which he could be charged with a
criminal offense under the laws of the State of New York, all in violation of Title 18, United States Code, Section 2422(b)

This criminal complaint is based on these facts:

@ Continued on the attached sheet.

YW) Complainant's signature

Barry W. Couch, Special Agent

Federal Bureau of Investigation
Printed name and title

Sworn to before me and signed in my presence.

Date: July 2% 2010 Naranio + day p—

Judge's signature

Honorable Marian W. Payson
City and State: _Rochester, New York United States Magistrate Judge

Printed name and title

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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

STATE OF NEW YORK )

COUNTY OF MONROE ) //- mG- bb q

CITY OF ROCHESTER )

I, Barry W. Couch, being duly sworn, depose and state:

1. I am a Special Agent of the Federal Bureau of
Investigation (FBI). I have been a Special Agent for
approximately two and one-half years. I am currently assigned
to investigations involving crimes against children, as well as

other criminal investigations.

2. This affidavit is submitted for the limited purpose of
establishing probable cause to believe that TIMOTHY R. WALLACE,
born XX/XX/1980, while in the Western District of New York, used
a means of interstate commerce to knowingly entice an individual
who had not attained the age of eighteen years, to engage in
sexual activity, in violation of Title 18, United States Code,

Section 2422(b).

3. The statements contained in this affidavit are based on

my own personal knowledge and observation, my training and

experience, and conversations with other law enforcement officers

and witnesses. Because this affidavit is being submitted for the

limited purpose of securing a criminal complaint, I have not

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included each and every fact known to me concerning this
investigation. I have set forth only the facts that I believe
are necessary to establish probable cause that TIMOTHY R. WALLACE
did knowingly violate Title 18, United States Code, Section

2422 (b).

4. On July 11, 2011, New York State Police Investigator
Aaron Dake was informed that a thirteen year old female in Nunda,
New York, had reported that an unknown twenty-five year old
person named TIM had been texting her sexually explicit
communications and had attempted to physically meet her in the
Village of Nunda. The victim provided a deposition in which she
stated that she had received a text from someone that identified
himself as "Tim" from Oakland and that she added him to her
contact list as "Random Tim." She stated that she and "Tim"
texted back and forth all day long and at one point, he asked her
how old she was and she told him she was thirteen. He said he
was twenty-five. The victim stated that he eventually started
asking her about sex. They talked about sex for a while and then
he asked her to meet him at the Gazebo on East Street in Nunda.

The victim stated she went to the Gazebo but got scared and

called 911.

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5. On July 12, 2011, the thirteen year-old's mother gave
written consent for New York State Police to search the victim's
cellular telephone. New York State Police were then able to
determine that the telephone number of the unknown texter was
585-447-2841. Internet records showed that the phone number was
maintained by Verizon Wireless. Subpoena results from Verizon
Wireless, a known provider of interstate cellular telephone
service, showed that the customer using telephone number
585-447-2841 was TIMOTHY WALLACE of 9266 Parker Road, Nunda, New

York.

6. On July 19, 2011, Investigator Dake interviewed TIMOTHY
WALLACE. WALLACE signed a written voluntary statement. An
excerpt from that statement reads, "On July 11, 2011, I was at
the laundry mat in Nunda, New York, and saw a phone number for a
babysitter named (the victim) who was 13 years old. I began
texting (the victim) and introduced myself as Tim from Nunda, and
I think I told her how old I was. (The victim) would text me
back as I was chatting her up. I think I initiated the
conversation toward sex in a subtle manner. I was chatting (the
victim) up for the purpose of meeting her and having sex with
her, what I called having fun. (The victim) eventually agreed to

meet up with me in Nunda. I asked her to wear a short skirt with

no panties because of easier access. I first asked (the victim)

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to meet me at the Gazebo, but after seeing her froma distance,
it looked like she had another girl with her. I then asked her
to walk down to the creek, but she didn't go. Then I couldn't go
through with it and never met up with her. I knew it was stupid

of me."

7. WALLACE continued his voluntary statement by disclosing
that he had both knowingly received and distributed child
pornography through use of the internet and his cellular
telephone, as recent as approximately a month ago. WALLACE also
disclosed that he had a "sexting relationship" with a fourteen
year-old girl from another state, maybe Missouri or Kansas.
WALLACE stated that he and the fourteen year-old girl exchanged
naked pictures of themselves. WALLACE stated that his
relationship with the fourteen year-old girl ended within the
last few weeks. WALLACE stated, "I let my sexual urges get the
better of me." WALLACE concluded his statement with, "I realize
that it is indeed disgusting to have thoughts about innocent

children."

Based upon the foregoing, your affiant respectfully submits
that there is probable cause to believe that TIMOTHY R. WALLACE

has violated Title 18, United States Code, Section 2422(b), using

a means of interstate or foreign commerce, to knowingly persuade,

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induce, entice, or coerce any individual who has not attained the
age of 18 years, to engage in any sexual activity for which any
person can be charged with a criminal offense, or attempts to do

so.

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W. COUCH, Special Agent
BARRY Bureau of Investigation

Sworn to before me this
22 day of July, 2011.

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HONORABLE MARIAN W. PAYSON
United States Magistrate Judge

